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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LAUREN H. HALES,                              )
                                              )
              PLAINTIFF,                      )     No. 15 C 2622
                                              )
        v.                                    )
                                              )     Judge Thomas M. Durkin
TIMBERLINE KNOLLS, LLC, now known             )
as R.M. BROWN ENTERPRISES, LLC,               )
SEMONE M. WEST, M.D., THOMAS DATTALO          )
MARK DEDONATO, TIMBERLINE KNOLLS              )
HOLDING, LP, and TIMBERLINE KNOLLS            )
MANAGEMENT, LLC,                              )
                                              )
              DEFENDANTS.                     )

                           MEMORANDUM OPINION AND ORDER

        Plaintiff Lauren H. Hales, an Iowa resident, and former patient at

Timberline Knolls residential treatment center, brings this suit alleging breach of

statutory duty (Count I), breach of fiduciary duty and aiding and abetting breach of

fiduciary duty (Counts II and III), tortious interference with physician-patient

relationship (Count IV), intentional infliction of emotional distress (Count V), and

breach of contract (Count VI). R. 54 (Second Amended Complaint). This Court has

diversity jurisdiction1 over Hales’ claims pursuant to 28 U.S.C. § 1332. 2 See R. 54




1      The Court is uncertain whether Timberline Knolls Management, LLC and
Timberline Knolls Holding, LP, are completely diverse from Plaintiff because the
citizenship of their members and partners, respectively, has not been plead in the
operative complaint or otherwise set forth in the record. However, because the
Court finds below that it lacks personal jurisdiction over either of these defendants,
they are dismissed from the case without prejudice. The complete diversity of the
remaining defendants is sufficient to establish jurisdiction.
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¶¶ 3-20; R. 84-2 at 37. Defendants Timberline Knolls, LLC, Thomas Dattalo

(President and Administrator of Timberline Knolls), and Mark DeDonato

(Timberline Knolls’ Director of Continuing Care) (collectively, the “Timberline

Knolls Defendants”) move along with Dr. Semone M. West (Hales’ treating

psychiatrist at Timberline Knolls) to dismiss each of the six counts alleged against

them, whether individually or collectively, for failure to state a claim. R. 91.

Defendants Timberline Knolls Holding, LP (“TK Holding”) and Timberline Knolls

Management, LLC (“TK Management”) (collectively, the “Corporate Defendants”)

move to dismiss for lack of personal jurisdiction and for failure to state a claim. R.

83. For the reasons that follow, the Timberline Knolls Defendants’ motion is denied

with respect to Counts I-V and granted with respect to Count VI, and the Corporate

Defendants’ motion is granted.

                                      Standard

        A Rule 12(b)(6) motion challenges the sufficiency of the complaint. See, e.g.,

Hallinan v. Fraternal Order of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir.

2009). A complaint must provide “a short and plain statement of the claim showing

that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), sufficient to provide


2      Plaintiff also alleges federal question jurisdiction in the Complaint, citing
The Protection and Advocacy for Individuals with Mental Illness Act of 1986, 42
U.S.C. § 10801, et seq. Plaintiff does not seek damages under the Act, however, but
rather invokes it to establish the standard of care, the alleged breach of which forms
the basis to support her state law tort claims. The Court therefore does not consider
this case to present a federal question under 28 U.S.C. § 1331. See Merrell Dow
Pharm. Inc. v. Thompson, 478 U.S. 804, 817 (1986) (“We conclude that a complaint
alleging a violation of a federal statute as an element of a state cause of action . . .
does not state a claim ‘arising under the Constitution, laws, or treaties of the
United States.’”)


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defendant with “fair notice” of the claim and the basis for it. Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). This standard “demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). While “detailed factual allegations” are not required, “labels

and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Twombly, 550 U.S. at 555. The complaint must “contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “‘A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.’”

Mann v. Vogel, 707 F.3d 872, 877 (7th Cir. 2013) (quoting Iqbal, 556 U.S. at 678). In

applying this standard, the Court accepts all well-pleaded facts as true and draws

all reasonable inferences in favor of the non-moving party. Mann, 707 F.3d at 877.

                                    Background

        Hales was admitted to Timberline Knolls residential treatment center on

September 18, 2010. 3 R. 54 at ¶ 27. Her admission was precipitated by a suicide

attempt—the culmination of years of mental illness, frequent suicidal ideation, an

extensive history of self-harm, and a recent episode of cocaine use and acute alcohol

poisoning. Id. ¶ 29. Timberline Knolls was aware of Hales’ mental health and


3     Hales reached the age of majority on March 28, 2013, at which time the
applicable statute(s) of limitations on her state law claims began to run. See 735
ILCS 5/13-211 (“If the person entitled to bring an action . . . at the time the cause of
accrued, is under the age of 18 years . . . then he or she may bring the action within
two years after person attains the age of 18 years.”). This suit was filed on March
27, 2015.


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substance abuse history, as well as relevant risk-factors in her family history, at the

time of her admission. Id. ¶¶ 30-34.

      Hales was housed in the Oak Lodge adolescent treatment building. Id. ¶ 35.

In early November 2010, Hales experienced and received counseling regarding

delusions of her own death. Id. ¶ 90. On November 23, 2010, another adolescent

patient who had been on furlough with a parent returned to the facility with a

“substantial amount” of unauthorized prescription medication. Id. ¶ 40-42. This

patient was not searched by anyone at Timberline Knolls upon her arrival, and she

was permitted to return the Oak Lodge building, where she proceeded to distribute

the medication to Hales and others. Id. ¶¶ 43-44. Hales and five other patients

ingested dangerous and potentially lethal doses of the medication; she and the

others were transported by ambulance to local emergency rooms. Id. ¶¶ 45, 49-56.

Timberline Knolls did not voluntarily disclose this incident to state regulators or

industry accreditors. Id. ¶¶ 102-103.

      After Hales was physically stabilized, she was admitted to the Department of

Adolescent Psychiatry at a local hospital for further treatment, “suicide

precautions” and “close observation.” Id. ¶¶ 76, 84. During the period of her

hospitalization, Hales “express[ed] and exhibit[ed] severe emotional distress,

mental anguish, anxiety and humiliation,” in part because of the restrictive and

aggressively monitored nature of her confinement to what she referred to as “the

psych ward.” Id. ¶ 78. Dr. West, Hales’ treating psychiatrist at Timberline Knolls,

did not call to check on Hales, visit her while she was hospitalized, or return phone




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calls (or pages) from the hospital or Hales’ parents seeking input related to Hales’

care. Id. ¶¶ 138-49.

         On November 27, 2010, hospital personnel informed Hales that she was

stable enough to be transferred back to Timberline Knolls. Id. ¶ 150. The hospital

and Hales’ father made numerous attempts to reach Dr. West, because before Hales

could be released, Dr. West, as Hales’ treating physician at Timberline Knolls,

needed to be briefed on Hales’ hospitalization and medical status. Id. ¶¶ 150-55. Dr.

West’s failure to respond to these calls and pages unnecessarily prolonged Hales’

hospital stay. Id. Eventually, the hospital was directed to a different psychiatrist at

Timberline Knolls. Id. at 156. Hales was discharged from the hospital as a

“moderate” suicide risk on November 29, 2010, and transferred back to Timberline

Knolls to complete her rehabilitation program. Id. ¶ 89.

                                      Discussion

I.       The Timberline Knolls Defendants and Dr. West

         A.    Count I: Breach of Statutory Duty

         Count I of the complaint alleges a breach of statutory duty against the

Timberline Knolls Defendants, citing The Protection and Advocacy for Individuals

with Mental Illness Act of 1986 (“Protection and Advocacy Act”), 42 U.S.C. § 10801,

et seq., two state mental health laws (the Mental Health and Developmental

Disabilities Code (“Illinois Mental Health Code”), 405 Ill. Comp. Stat. Ann. 5/1-101,

et seq., and the Protection and Advocacy for Mentally Ill Persons Act (“Illinois

Protection and Advocacy Act”), 405 Ill. Comp. Stat. Ann. 45/1, et. seq.)), and




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generally identified “rules and regulations promulgated by the Illinois Department

of Human Services” as the basis of the alleged breach. Id. (Count I). The claim

catalogues various purported violations and consequent harms suffered, which fall,

essentially, into three categories. First, the Timberline Knolls Defendants breached

their statutory duty by failing to report the overdose incident. Id. ¶¶ 106-07.

Second, the Timberline Knolls Defendants “failed to design, implement and

maintain adequate security measures with respect to preventing the introduction of

unauthorized control substances onto the Oak Lodge premises.” Id. ¶¶ 114-16.

Third, the Timberline Knolls Defendants subjected Hale to abuse and/or neglect,

either intentionally or negligently, in derogation of their statutory duties. Id.

¶¶ 117-122. 4 The Court addresses each aspect of Count I in turn.

              1.    Rules and Regulations Promulgated by the Illinois Department
                    of Human Services.

        Hales vaguely alleges that Timberline Knolls was required to report the

overdose incident pursuant to unspecified rules and regulations and that it failed to

do so. Not only are these allegations threadbare at best, the duty they reference is

one that would be owed to state regulators, not to Hales. To the extent Count I is

based on Timberline Knolls’ alleged duty to report, it is dismissed with prejudice.

              2.    Illinois Mental Health Code

        The Timberline Knolls Defendants argue that Hales’ claims under the Illinois

Mental Health Code fail because the Code does not “expressly provide for” a private


4     The remaining allegations in Count I refer solely to Dr. West, and are
duplicative of the allegations set forth in Count II, which are addressed later in this
opinion.


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right of action. R. 91 at 2. Whether a statute expressly permits a private right of

action is not dispositive of whether a plaintiff can base a claim for relief on a

violation of statutory standards. In Threlkeld v. White Castle Sys., Inc., 127 F. Supp.

2d 986, (N.D. Ill. 2001), the court explained the rule as follows:

             The [defendant] moves to dismiss the malpractice claim,
             arguing that there is no private right of action under the
             Mental Health Code. This is quite irrelevant. [The
             plaintiff] does not argue that she has a private right of
             action under the Code, but rather that the [defendants’]
             violations of the Mental Health Code give rise to a cause
             of action for negligence. Even where a statute does not
             create an express or implied right of action, it may
             establish a standard of care such that a plaintiff can make
             a prima facie case for negligence based on a violation of
             the statute.

Id. at 989 (citing Cuyler v. United States, 37 F. Supp. 2d 1099, 1103 (N.D. Ill. 1999)

(“[S]tatutes and ordinances designed to protect human life or property establish the

standard of conduct required of a reasonable person. In other words, they fix the

measure of legal duty.”)); see also Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547,

582 (7th Cir. 2012) (citing authority for the proposition that violations of federal

statutes and regulations are a common basis for negligence liability in tort

proceedings); see also Restatement (Third) of Torts § 38 (“When a statute requires

an actor to act for the protection of another, the court may rely on the statute to

decide that an affirmative duty exists and to determine the scope of the duty.”).

      In order to state a negligence claim based on the violation of a statute, Hales

must establish that: (1) the statute is designed to protect human life or property;

(2) she is within the class of people protected by the statute; and (3) her injuries are

the kind against which the statute was intended to protect. See Threlkeld, 127 F.


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Supp. 2d at 989. If she adequately alleges a violation of the Illinois Mental Health

Code, Hales may pursue a negligence claim arising therefrom if the violation

plausibly caused her injuries. Id. She has done so here.

      There can be no doubt that the Mental Health Code is designed to protect

human life and that Hales, a patient at a mental health facility, is within the class

of persons protected by the statute. The Code entitles patients like Hales to be free

from “neglect,” which it defines as the failure to provide “adequate medical or

personal care or maintenance . . . which failure results in physical or mental injury

to a recipient or in the deterioration of a recipient’s physical or mental condition.”

405 ILCS § 5/2-112; 405 ILCS § 5/117.1. Under the Code, “adequate care” refers to

“services reasonably calculated to prevent further decline in the condition of a

recipient of services so that he or she does not present an imminent danger to self or

others.” 405 ILCS 5/1-101.2. Hales alleges that the security measures and patient

oversight at Timberline Knolls are inadequate to prevent the smuggling and

distribution of controlled substances onto the premises, where patients suffering

from mental illness are vulnerable to self-harm. This is sufficient to state a claim

for negligence.

             3.    The Protection and Advocacy Acts (federal statute and state
                   implementing law)

      The purpose of the Protection and Advocacy Acts is to protect individuals

with mental illness from abuse, neglect and serious injury. 42 U.S.C. § 10801; 405




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ILCS 45/1 (using substantially identical language5). Under the Act, the term

“neglect” means, among other things, “the failure to provide a safe environment for

[an] individual with mental illness.” 42 U.S.C. § 10802(5); 405 ILCS 45/2(3). The Act

furthermore provides that “[p]rior to instituting any legal action . . . on behalf of

[an] individual with mental illness, an eligible system, or a State agency or nonprofit

organization which entered into a contract with an eligible system under section

10804(a) of this title, shall exhaust in a timely manner all administrative remedies

where appropriate.” 42 U.S.C. § 10807 (emphasis added); 405 ILCS 45/3(D)

(substantially identical language).

        Defendants do not argue that Hales has failed to allege an “[un]safe

environment for [an] individual with a mental illness.” Rather, they argue that

Hales’ failure to exhaust administrative remedies is fatal to her claims based on

violations of these statutes. R. 91 at 5. Defendants do not cite any authority beyond

the statute itself, and entirely ignore the italicized language, which explicitly limits

the exhaustion requirement to entities with government contracts. See also 42

U.S.C.A. § 10804(a) (setting forth contract eligibility requirements). Defendants’

exhaustion argument is thus without merit.




5      The Illinois statute uses the phrase “mentally ill persons,” while the federal
statute uses the phrase “individuals with mental illness.” The mental health
community prefers to describe those living with mental health conditions using
“person-centered” language, e.g. “person living with bipolar disorder” instead of
“bipolar person.” See “Person-Centered Language,” Mental Health America,
available at http://www.mentalhealthamerica.net/person-centered-language (last
visited October 17, 2016).


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      More importantly, however, Hales is not asserting a claim under the

Protection and Advocacy Acts in the sense that she is seeking statutory relief.

Rather, as articulated above, she asserts that the Timberline Knolls Defendants

were negligent on the basis of their failure to meet the standards of care set forth in

the statutes, which in turn, caused her harm.

      4.     Negligence

      Courts have permitted common law negligence claims on similar facts. In

Siklas v. Ecker Center for Mental Health, Inc., 617 N.E.2d 507 (Ill. App. Ct. 1993), a

plaintiff living with paranoid schizophrenia sought treatment from the defendant

mental health center (the “Center”). The Center was not a residential facility, but

did procure housing for a number of its patients, including the plaintiff and his

roommate, who was also receiving treatment for mental illness. While living under

the Center’s supervision and undergoing treatment, the plaintiff sustained a serious

knife injury inflicted by his roommate. Id. at 510. The plaintiff sued for damages in

Illinois state court on the basis of the Center’s failure to protect him. Id. The Center

moved for summary judgment, which was granted, arguing that it had no duty to

protect the plaintiff from the criminal acts of his roommate. Id. Reversing the order

of judgment for the Center, the appellate court explained:

             Implicit in [the Center]’s undertakings [to procure
             housing for the plaintiff and his roommate] was the
             obligation to determine, insofar as possible, that plaintiff
             remained safe in his housing, despite his illness. [The
             Center] monitored both plaintiff’s and [his roommate’s]
             mental conditions . . . In our view, the services which [the
             Center] undertook to provide to plaintiff were the kind of
             services which it should have recognized as necessary for



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              the protection of plaintiff’s person. Too, any failure on [the
              Center]’s part to exercise reasonable care increased the
              risk of harm to plaintiff . . . It is evident also that, due to
              his illness, plaintiff relied on [the Center]’s assistance
              and, ultimately, was injured in a situation substantially
              created and maintained by [the Center] as part of its
              services.

Id. at 513.

      The parallels between Siklas and this case are obvious. Like the plaintiff in

Siklas, Hales was living under the supervision of her mental health care provider,

Timberline Knolls. Indeed, she was living in Timberline Knolls’ direct custody, on

the very premises where she received therapy and other treatment. Timberline

Knolls was acutely aware by virtue of its provision of mental health services to

Hales that she had history of depression, substance-abuse, self-harm, and suicidal

ideation. For the same reasons, Timberline Knolls was aware of the propensities

and vulnerabilities of other residents living on site. Therefore, Timberline Knolls

should have recognized its obligation to ensure, insofar as possible, that its patients

remained safe from themselves and from one another. In other words, Timberline

Knolls owed its residents a common law duty of care. See, e.g., Peterson v. Kings

Gate Partners-Omaha I, L.P., 861 N.W.2d 444, 449 (Neb. 2015) (sustaining a

common negligence law claim against the landlord of senior apartment building for

his alleged failure to protect a resident from assault by another resident’s son). The

Restatement (Third) of Torts is instructive:

              An actor in a special relationship with another owes the
              other a duty of reasonable care with regard to risks that
              arise within the scope of the relationship. Special
              relationships giving rise to the duty provided in



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                Subsection (a) include . . . a custodian with those in its
                custody.

Restatement (Third) of Torts § 40. “[C]ustodial relationships that courts have

recognized as imposing an affirmative duty [of care] include day-care centers and

the children for whom they care, hospitals and their patients, nursing homes with

their residents.” Id. cmt. n. The special relationship between an in-patient

rehabilitation facility and its resident-patients is analogous. Timberline Knolls had

a duty to exercise reasonable care to keep Hales safe. Having alleged that the

Timberline Knolls Defendants were negligent in failing to prevent the smuggling of

contraband leading to the overdose incident, Hales has stated a plausible claim for

relief.

          In summary, Hales has adequately alleged a negligence claim against the

Timberline Knolls Defendants based on breaches of both statutory and common law

duties of care. Except as to the claim for failure to report, Defendants’ motion to

dismiss Count I is denied.

          B.    Counts II-IV: Breach of Fiduciary Duty and Tortious Interference with
                and Aiding and Abetting Breach of Physician-Patient Relationship

          Count II alleges breach of fiduciary duty against Dr. West. Id. ¶ 158. This

claim relates specifically to Dr. West’s failure to take or return any phone calls or

pages from the hospital following the overdose emergency, during the period of

Hales’ hospital admission, and in anticipation of Hales’ discharge. Id. ¶¶ 137-44.

Counts III and IV allege that the Timberline Knolls Defendants aided and abetted

Dr. West’s breach of fiduciary duty and/or tortiously interfered with the physician-

patient relationship by instructing Dr. West not to speak with Hales and by


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refusing to transfer calls or deliver messages from the hospital to Dr. West. Id.

¶¶ 176-77. Hales alleges that in “abandoning” her after the suicide attempt, Dr.

West, of her own accord and at the behest of the Timberline Knolls Defendants,

placed the legal and financial concerns of Timberline Knolls above Hales’ medical

needs. Id. ¶¶ 166-67, 178.

      The Timberline Knolls Defendants and Dr. West do not dispute that Dr. West

owed Hales a fiduciary duty. This is no surprise, since “it is well settled in Illinois

and, indeed, throughout the United States that there exists, between a patient and

his treating physician, a fiduciary relationship founded on trust and confidence.”

Petrillo v. Syntex Labs., Inc., 499 N.E.2d 952, 961 (1986) (internal citations

omitted); see also United States v. Vasquez-Ruiz, 2002 WL 1880127, at *2 (N.D. Ill.

Aug. 12, 2002), rev’d on other grounds, 502 F.3d 700 (7th Cir. 2007) (“A fiduciary

duty is implicit in the relationship between physician and patient.”). Rather, in

support of their argument for dismissal, the Timberline Knolls Defendants and Dr.

West contend that all claims premised on Dr. West’s fiduciary duty to Hales

implicate her medical judgment and therefore require an affidavit certifying review

by a medical expert under the Illinois Healing Arts Malpractice Act, 735 ILCS 5/2-

622. R. 91 at 5-6.

      The Healing Arts and Malpractice Act provides that “[i]n any action, whether

in tort, contract or otherwise, in which the plaintiff seeks damages for injuries . . .

by reason of medical, hospital, or other healing art malpractice, the plaintiff’s

attorney . . . shall file an affidavit attached to the original . . . complaint” certifying




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that the attorney has conferred with a qualified, knowledgeable healthcare

professional who, upon reviewing the medical record, concluded that the plaintiff

had a reasonable and meritorious cause for filing suit. 735 ILCS 5/2-622(a)(1). The

failure to file such a certificate is grounds for dismissal. 735 ILCS 5/2-622(g). Hales

did not file a 2-622 affidavit with her complaint. She argues that no affidavit was

necessary because her claims against Dr. West do not sound in malpractice.

      Courts have given broad application to the phrase “healing art malpractice.”

Milos v. Hall, 757 N.E.2d 654, 657 (Ill. App. Ct. 2001) (citing Lyon v. Hasbro Indus.,

Inc., 509 N.E.2d 702, 705-06 (Ill. App. Ct. 1987)). Even so, “not every act or omission

committed by a physician . . . constitutes healing art malpractice.” Id. (citing Cohen

v. Smith, 648 N.E.2d 329, 333–34 (Ill. Ct. App. 1995) (nonconsensual touching by

nurse not “healing art malpractice”); Edelin v. Westlake Cmty. Hosp., 510 N.E.2d

958, 961 (Ill. Ct. App. 1987) (failure to follow hospital policy requiring patients to be

escorted from the property in a wheelchair not “healing arts malpractice”)). Rather,

a claim for healing arts malpractice lies only “when a professional applies his expert

knowledge or skill in an unreasonably deficient way resulting in injury.” Awalt v.

Marketti, 2012 WL 1161500, at *4 (N.D. Ill. Apr. 9, 2012) (citing Purtill v. Hess, 489

N.E.2d 867, 871 (Ill. 1986)). The nature of the act alleged determines whether the

challenged activity constitutes healing art malpractice and falls within the ambit of

Section 2-622. Id.

      The case of In re Odeh, 431 B.R. 807 (Bankr. N.D. Ill. 2010), is instructive. In

Odeh, a bankruptcy court considered a breach of fiduciary duty claim advanced by a




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petitioner against her deceased-husband’s doctor. Id. The petitioner alleged that the

doctor altered or falsified her husband’s medical records to avoid malpractice

liability. Id. The doctor argued that the breach of fiduciary duty claim was

duplicative of the petitioner’s malpractice claim. Id. at 811. To decide the matter,

the court examined the “operative facts together with the injury,” concluding that

the breach of fiduciary duty claim was “qualitatively different from an action for

medical practice.” Id. at 812-13. This was so, the court explained, because “showing

that [the doctor] falsified [the patient’s] records will not establish that [the doctor]

failed to provide adequate medical services.” Id. at 813. Rather, [the doctor] abused

a position of power and confidence in a manner quite distinct from the quality of

medical services he rendered.” Id. Accordingly, the court found a non-dischargable

claim for breach of fiduciary duty because “[t]he complaint alleges that [the doctor]

altered [the husband]’s medical records to protect [his] personal financial interest in

avoiding malpractice liability at the expense of the patient’s interest, violating a

duty at the core of the fiduciary relationship.” Id. at 815 (citing Petrillo, 499 N.E.2d

at 961); see also Milos, 757 N.E.2d at 182 (finding that a pathologist’s failure to

include certain facts in an autopsy report “was not based upon medical judgment

but was based entirely upon a desire to protect [the hospital] from a potential civil

action.”).

       So too, here. Hales does not make any allegations regarding the adequacy of

the mental health treatment she received from Dr. West. Indeed, from Hales’

decision to return to Timberline Knolls, one might conclude that she believed Dr.




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West was at least a competent psychiatrist. Hales alleges, however, that in the days

following the overdose incident, when Hales was no longer under Dr. West’s care

and was instead receiving treatment at a local hospital, Dr. West put the

reputational and financial interests of Timberline Knolls above the immediate

medical needs of Hales, her patient, to whom she owed a fiduciary duty. This left

Hales without the ability to obtain critical medical information under emergent

circumstances and also to be expediently discharged to a less restrictive mental

health treatment facility.

      Dr. West and the Timberline Knolls Defendants argue that Dr. West’s

determination regarding how frequently to communicate with the hospital was an

exercise of medical judgment. They furthermore argue that any duty Dr. West had

to return phone calls must be established by reference to expert testimony

regarding standards governing communication between health care providers under

circumstances like those alleged here. Neither argument convinces this Court that

Hales has alleged a healing arts malpractice claim. First, the Court disagrees that

returning phone calls regarding a patient’s medical history, treatment plan, and

logistics for her transfer from one facility to another requires an exercise of medical

judgment. More importantly, even if expert testimony is required to establish the

scope of Dr. West’s duty to communicate with Hales’ medical providers, it does not

convert Hales’ claim to one sounding in medical healing art malpractice; the breach

alleged here does not arise from the inadequate provision of care, but rather from

the Defendants’ decision to have Dr. West become incommunicado, which placed




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their interest in mitigating civil liability above Dr. West’s fiduciary obligation to

Hales, resulting in harm to Hales. See Milos, 757 N.E.2d 658. The motion to dismiss

the breach of fiduciary duty claim is therefore denied.

      Because the Court finds that Hales has stated a claim for breach of fiduciary

duty against Dr. West, the claims for concerted action liability against The

Timberline Knolls Defendants are allowed. See Thornwood, Inc. v. Jenner & Block,

799 N.E.2d 756, 767-68 (2003) (citing Restatement (Second) of Torts § 876)

(explaining that under the theory of concert of action in Illinois, a party may be held

liable for substantially assisting or encouraging a breach of fiduciary duty).

      C.     Count V: Intentional Infliction of Emotional Distress

      Count V alleges intentional infliction of emotional distress for all of the

reasons set forth in Counts I-IV. Id. The Court considers Count V to assert two

separate claims—one arising from the circumstances leading to the overdose

incident (Count I), and another arising from Dr. West’s failure to return calls

regarding Plaintiff’s medical care and transfer back to Timberline Knolls (Counts

II-IV). To state a claim for intentional infliction of emotional distress, a plaintiff

must allege that (1) the defendant engaged in “extreme and outrageous” conduct

toward the plaintiff, (2) the defendant intended or recklessly disregarded the

probability that the conduct would cause the plaintiff to suffer emotional distress,

(3) the plaintiff endured “severe or extreme” emotional distress, and (4) the

defendant’s conduct actually and proximately caused the plaintiff's distress. Ulm v.

Mem’l Med. Ctr., 964 N.E.2d 632, 641 (Ill. App. Ct. 2012). To survive a motion to

dismiss, a plaintiff must allege that “the distress inflicted is so severe that no


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reasonable [person] could be expected to endure it.” Duffy v. Orlan Brook Condo.

Owners’ Ass’n, 981 N.E.2d 1069, 1082 (Ill. App. Ct. 2012)

      Hales has sufficiently alleged extreme emotional distress. After overdosing in

an attempt to commit suicide, which is extremely distressing in and of itself, Hales

found herself bound by restraints to a hospital gurney for hours while doctors

assessed her level of risk of self-harm. She was later committed to a hospital’s

psychiatric unit, where she remained days after being cleared for discharged

because Dr. West refused to return calls to facilitate her expedient return to

Timberline Knolls. Courts have permitted intentional infliction of emotional

distress claims where, as here, the tortious conduct alleged arises from a breach of

statutory duty. See Barrios v. Sherman Hosp., 2006 WL 3754922, at *2 (N.D. Ill.

Dec. 15, 2006) (citing Chadwick v. Al-Basha, 692 N.E.2d 390, 393 (Ill. App. Ct.

1998) (permitting an intentional infliction of emotional distress claim based on

alleged violations of the Emergency Medical Treatment and Active Labor Act)).

Hales may also proceed as to the second prong of her intentional infliction of

emotional distress claim because by virtue of their professional experience and

familiarity with Hales, the Dr. West and the Timberline Knolls Defendants

reasonably could have foreseen that their refusal to communicate with Hales’ care

providers at the hospital would unnecessarily prolong her hospital stay.

       D.    Count VI: Breach of Contract

      Finally, in Count VI, Hales asserts a breach of contract claim against

Timberline Knolls as the third party beneficiary of the contract for treatment




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between the Timberline Knolls and Hales’ parents. R. 54 ¶¶ 208-213. Specifically,

Hales alleges in a conclusory fashion that “by engaging in the acts and omissions”

alleged in Counts I-IV, Timberline Knolls “breached [their] contract [with Hales’

parents] by failing to provide adequate mental health care to [Hales] in a safe

environment.” Id. ¶ 211. Hales does not attach the contract to the pleadings or

reference in Count VI (or anywhere else in the Complaint) the specific provisions

she claims were breached. Although Hales is not procedurally required to attach the

contract to state a claim for breach, see Liu v. Nw. Univ., 78 F. Supp. 3d 839, 846-47

(N.D. Ill. 2015), her failure to identify or set forth any particular provision or

contractual language is fatal to her claim. Claim VI is therefore dismissed. Because

this is Hales’ third pleading, and because discovery is already well underway, this

claim is dismissed with prejudice.

II.   The Corporate Defendants

      The Corporate Defendants move separately to dismiss, arguing that

Plaintiff’s “threadbare” and “conclusory” allegations are insufficient to confer

personal jurisdiction on this Court or to sustain a claim for direct or vicarious

liability for the conduct alleged in the Complaint. R. 84. The Court first considers

the motion to dismiss for lack of personal jurisdiction. If the Court determines that

it lacks jurisdiction over the Corporate Defendants, it need not (and indeed, cannot)

consider the merits of the claims against them.




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      A.     Personal Jurisdiction

      An action against a party over whom the Court lacks personal jurisdiction

must be dismissed. Fed. R. Civ. P. 12(b)(2). A complaint need not include facts

alleging personal jurisdiction. Steel Warehouse of Wis., Inc. v. Leach, 154 F.3d 712,

715 (7th Cir. 1998). However, once a defendant moves to dismiss the complaint

under Rule 12(b)(2) for lack of personal jurisdiction, the plaintiff bears the burden of

establishing the existence of jurisdiction. See Purdue Research Found. v. Sanofi–

Synthelabo, S.A., 338 F.3d 773, 782 (7th Cir. 2003). If the defendant submits

affidavits or other evidence opposing the exercise of jurisdiction, “the plaintiff must

go beyond the pleadings and submit affirmative evidence supporting the exercise of

jurisdiction.” Id. “The Court resolves factual disputes in the pleadings and affidavits

in favor of the party asserting jurisdiction, but takes as true those facts contained in

the defendant’s affidavits that remain unrefuted by the plaintiff.” Chi. Reg’l Council

of Carpenters v. Joseph J. Sciamanna, Inc., 2009 WL 1543892, at *2 (N.D. Ill. June

3, 2009).

      The basis implied in the Complaint for personal jurisdiction over the

Corporate Defendants is that they are alter egos of Timberline Knolls, which

conducts business in Illinois and is thus indisputably within the general jurisdiction

of the Court. See Council of Carpenters, 2009 WL 1543892, at *2. “Under Illinois

law, a corporation is a legal entity separate and distinct from its shareholders,

directors and officers, and, generally, from other corporations with which it may be

affiliated.” Id. at *2 (citing Van Dorn Co. v. Future Chem. and Oil Corp., 753 F.2d




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565, 569 (7th Cir. 1985)). A court may disregard the separate corporate entity,

however, if it determines that two corporations are so interconnected in interest and

ownership that the separate corporations no longer exist and that recognition of the

separate existence would promote fraud or injustice. Id. To determine whether one

corporation maintains the requisite degree of control over another to justify an alter

ego finding, a court may consider several factors, including the failure to maintain

adequate corporate records or to comply with corporate formalities, the

commingling of funds or assets, undercapitalization, and whether one entity treats

the assets of the other as its own. Id. Courts may also consider whether the two

entities have “substantially identical management, business purpose, operation,

equipment, customers, supervision, and ownership.” Id. (citing Int’l Union of

Operating Eng’rs, Local 150, AFL–CIO v. Rabine, 161 F.3d 427, 433 (7th Cir. 1998)).

      Plaintiff alleges, in summary, that TK Holding and TK Management are

general partners, that TK Holding holds a majority interest in Timberline Knolls,

that TK Management “provid[ed] management, administrative and supervisory

services to Timberline Knolls,” and that Timberline Knolls conducted its business

“at the direction of, at the behest of, or in concert with” TK Management. R. 54

¶¶ 21-24. Plaintiff alleges that for these reasons, and due to “a significant degree of

commonality and overlapping characteristics . . . with regard to the Members,

Managers, Partners, and Officers” of the entities, TK Holding and TK Management

“are inextricably intertwined with” Timberline Knolls and as such are alter egos




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jointly subject to the jurisdiction of this Court and to liability for the harms alleged.

Id. ¶ 25.

      Attached to the Corporate Defendants’ motion to dismiss for lack of subject

matter jurisdiction is the affidavit of O. Haynes Morris, Jr., a Manager of

Timberline Knolls and TK Management. See 84-1 (“Morris Aff.”). In it, Morris states

that TK Management holds a minority (46%) “passive membership” interest in

Timberline Knolls (Morris Aff. ¶ 9) and that neither of the Corporate Defendants

provides management, administrative or supervisory services to Timberline Knolls

(Morris Aff. ¶¶ 7-9, 10-11). Indeed, the limited liability agreement, attached as

Exhibit A to the affidavit, R. 84-2, reflects as much. See Section 4.13 (“The only

matters upon which Members shall vote are (i) whether to sell the Company or its

assets, (ii) whether to dissolve and windup the affairs of the Company, (iii) whether

to adopt any amendment to this Agreement, (iv) the election of Managers,” and

whether to admit or remove members or issue securities); Section 4.7 (“[N]o member

shall have any voice, nor take part in the conduct, control or management of the

business of the Company in its capacity as a Member”). Morris also states that the

Corporate Defendants keep separate books, tax returns, and financial statements

from Timberline Knolls (Morris Aff. ¶ 13). Finally, Morris states that “[o]ther than

the passive investment in Timberline Knolls, LLC, neither TK Holding nor TK

Management has any other contact with the State of Illinois” (Morris Aff. ¶ 15).

      Far from proffering evidence refuting the Morris Affidavit, Plaintiff all but

concedes in her response that the Corporate Defendants are not Timberline Knoll’s




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alter-egos. Instead, she shifts the argument to suggest that the Corporate

Defendants are subject to the Court’s specific personal jurisdiction because they

directly participated in the conduct that harmed her. See R. 99 at 4. (“While it is

true that commonality in ownership, management and control are not enough to

pierce the corporate veil or otherwise impose vicarious liability, the Illinois Court

has recently spoken loud and clear on the propriety of imposing that liability when

the affiliated company is also a direct participant.”). But the Complaint does not

allege the Corporate Defendants’ direct involvement, and Plaintiff’s response to the

Corporate Defendant’s motion to dismiss merely reiterates the general allegations

set forth in the Complaint. R. 99 at 3 (“TK Management was providing general

management, administrative and supervisory services to Timberline Knolls, LLC,

regarding oversight and maintenance of the patient residential facility”). These

general allegations of supervision and management are refuted by the Morris

affidavit and the Limited Liability Agreement attached thereto. 6 In summary,



6      Plaintiff suggests that she should be allowed to pursue the merits of her
alter-ego theory in discovery. Even if this Court had jurisdiction over the Corporate
Defendants, which it does not, it would nevertheless refuse to permit discovery on
the threadbare and incomplete allegations in the operative complaint. Plaintiff’s
allegations against the Corporate Defendants relate exclusively to common
ownership and leadership, shared corporate resources, and some level of control or
supervision by the Corporate Defendants over the operations of Timberline Knolls.
But to state a claim for alter-ego liability, a plaintiff must allege more than mere
commonality and overlap, it must allege that “(1) the corporation was so controlled
and manipulated that it had become a mere instrumentality . . . and (2) recognition
of a separate corporate identity would sanction a fraud or promote injustice.”
Rehabcare Grp. East, Inc. v. Certified Health Mgmt., Inc., 2007 WL 3334500, at *2
(N.D. Ill. Nov. 8, 2007) (internal punctuation and citation omitted) (dismissing on
the merits an alter-ego claim plead almost identically to the claim here); see also id.
at *2-3 (collecting cases granting motions to dismiss alter-ego claims where


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Plaintiff failed to come forward with additional evidence in support her alter-ego

theory, and failed to make any concrete allegations of the Corporate Defendant’s

direct participation in the wrongful conduct alleged. 7

         The Court lacks jurisdiction over TK Management and TK Holding. They are

dismissed from the case.

                                     Conclusion

        For the foregoing reasons, Dr. West and the Timberline Knolls Defendants’

motion to dismiss is granted in part and denied in part with respect to Count I,


plaintiffs failed to accomplish the “daunting” task of alleging the high level of
dominion, control and unfairness an alter-ego claim requires). Even if the Court
ignored the Morris Affidavit and took the allegations in the Complaint as true, they
still miss the mark.

7      Though it has not been briefed, it bears mention that there is one other way
the Corporate Defendants might be subject to the personal jurisdiction of this
Court. Where “a subsidiary corporation is acting as the parent corporation’s Illinois
agent in the sense of conducting the parent’s business rather than its own,” the
exercise of jurisdiction is proper. Alderson v. S. Co., 747 N.E.2d 926,, 944 (Ill. App.
Ct. 2001); see also Capgain Props. Inc. v. Landmaster Partners, LLC, 2016 WL
3035534, at *2 (N.D. Ill. May 29, 2016) (“Personal jurisdiction over an entity is
appropriate when minimum contacts are established through an agent of the
entity.”). Certainly the relationship between the Corporate Defendants and
Timberline Knolls raises a question of agency-based personal jurisdiction. After all,
the Morris affidavit attests that TK Holding, the limited partner of TK
Management, owns a substantial minority stake in Timberline Knolls. It also
alleges a degree of overlap in the membership and management of the TK
Management and Timberline Knolls. But “standing alone, the existence of common
officers or directors serving both corporations is not sufficient to confer jurisdiction
over a nonresident parent corporation.” Alderson, 747 N.E.2d at 944. Therefore, and
because the Morris affidavit and exhibits reflect a lack of substantial control by the
Corporate Defendants over the business of Timberline Knolls, the Court finds that
it cannot exercise personal jurisdiction over either of the Corporate Defendants by
way of the agency theory of minimum contacts. Plaintiff may request a
reconsideration of this determination at the next status hearing if she has adduced
new information tending to establish that Timberline Knolls is an agent of either or
both of the Corporate Defendants.


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denied with respect to Counts II-V, and granted with respect to Count VI. The

Corporate Defendants’ motion to dismiss is granted.



                                                  ENTERED:



                                                  Honorable Thomas M. Durkin
                                                  United States District Judge


Dated: January 3, 2017




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